                        Case 1:18-cv-01214-PB Document 23 Filed 11/07/19 Page 1 of 2


USDCNH-96 (Rev.   7/1   4) Appearance of Counsel


                                        IJNTTBI STATBS DISTzuCT COURT
                                                                      for the
                                                           District of New Hampshire


                   Olivíâ Karpinski and Paul Edalat
                                Plaintíff
                                                                                CaseNo.   1:18-cv-01214-PB
Union Leader CoÍporation, Patriclâ J. Grossmith and Trent E. Spiner
                               Defendant


                                                        APPEARANCE OF COUNSEL

          The clerk of court and all parties ofrecord

          I am admitted or otherwise authorized to practice in this court, and I appear in this case         as counsel for:


          Olivia Karpinski and Paul Edalat


Date:          1110712019                                                                       /s/ Mark D. Attorri
                                                                                                Altorney's signature


                                                                                           Mark D. Attorri NHBA #9268
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              Case 1:18-cv-01214-PB Document 23 Filed 11/07/19 Page 2 of 2


   You neçd not complete a certificate of service for any party served electronically using the court's CM/ECF system.

                                           CERTIFICATE OF SERVICE

I hereby cerlify that this Appearance was served on the following persons on this date and in the
manner speciflred herein:

Electronically Served Through ECF
Matthew.R. Johnson ,_Esq.
Gregory V. Sullivan, Esq.



Conventionally   S   erved:




         1'U07t2019                                                           /s/ Mark D. Attorri
Date                                                       Signature
